                   IN THE DISTRICT COURT OF THE UNITED STATES
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION
                                    3:09-cr-130


UNITED STATES OF AMERICA                 )
                                         )
                  vs.                    )
                                         )                                   ORDER
                                         )
MOICES GARDUNO VALENCIA (3)              )
________________________________________ )



       THIS MATTER is before the Court upon motion of the defendant, pro se, requesting that

the Court reduce his sentence. (Doc. No. 125).

       The defendant seeks a downward departure because United States citizens are allegedly

entitled to different privileges within the Bureau of Prisons that may result in reduced sentences,

which he claims is an equal protection violation. The defendant’s conviction is now final, and the

Court previously dismissed his 28 U.S.C. § 2255 as untimely. (Doc. No. 123: Order). Therefore,

the Court is without jurisdiction to consider the defendant’s claim.

       IT IS, THEREFORE, ORDERED that the defendant’s motion (Doc. No. 125) is

DENIED.




                                                  Signed: October 16, 2012




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